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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                            San Francisco Division

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                                  12       RICARDO JOSE CALDERON LOPEZ,                       Case No. 16-cv-07236-LB
Northern District of California
 United States District Court




                                  13                     Plaintiff,
                                                                                              ORDER DENYING THE PLAINTIFF’S
                                  14              v.                                          MOTION TO WITHDRAW CONSENT
                                                                                              TO MAGISTRATE JURISDICTION
                                  15       TIGRAN GUMUSHYAN, et al.,
                                                                                              Re: ECF Nos. 100, 101, 107
                                  16                     Defendants.

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                                  18         Ricardo Calderon Lopez filed this civil rights case in the Central District of California.1 The

                                  19   case was then transferred to this district and assigned to Magistrate Judge Westmore.2 Mr. Lopez

                                  20   consented to magistrate-judge jurisdiction.3 The case was then related to Lopez v. Commissioner of

                                  21   Social Security, 16-cv-02732-LB, and reassigned to the undersigned.4 Mr. Lopez now wants to

                                  22   withdraw his consent to magistrate jurisdiction — he filed a form purporting to decline magistrate-

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                                        Compl. – ECF No. 1. Record citations refer to material in the Electronic Case File (“ECF”); pinpoint
                                  26   citations are to the ECF-generated page numbers at the top of documents.
                                       2
                                           Order Transferring Case – ECF No. 76; see also ECF No. 77.
                                  27   3
                                           Consent – ECF No. 82.
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                                           Related Case Order – ECF No. 84.

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                                   1   judge jurisdiction.5 The defendants filed an administrative motion opposing Mr. Lopez’s

                                   2   declination;6 Mr. Lopez effectively replied in an administrative motion of his own.7

                                   3         A party to a federal civil action generally has a constitutional right to proceed before an Article

                                   4   III judge. Dixon v. Ylst, 990 F.2d 478, 479 (9th Cir. 1993). This right can be waived, however, so

                                   5   that parties can “consent to trial before a magistrate judge.” Id. at 479–80. Consent to magistrate-

                                   6   judge jurisdiction can only be withdrawn for good cause or under extraordinary circumstances. Id.

                                   7   at 480. Indeed, “[t]here is no absolute right, in a civil case, to withdraw consent to trial and other

                                   8   proceedings before a magistrate judge.” Id. “In ruling on a motion to withdraw consent, courts

                                   9   consider factors including timeliness, whether granting the motion would unduly interfere with or

                                  10   delay the proceedings, the burdens and costs to litigants, and whether consent was voluntary and

                                  11   uncoerced.” Quinn v. Centerplate, No. 14-cv-01254 NC, 2014 WL 2860666, at *3 (N.D. Cal. June

                                  12   23, 2014) (citing United States v. Neville, 985 F.2d 992, 1000 (9th Cir. 1993)).
Northern District of California
 United States District Court




                                  13         Here, Mr. Lopez argues that he has a constitutional right to demand an Article III judge. 8 In

                                  14   light of his appeal of the related, social-security-benefits case, he states that “[t]he filing of a

                                  15   [n]otice of [a]ppeal is an event of jurisdictional significance — it confers [j]urisdiction on the

                                  16   court of appeals and divest[s] the [d]istrict [c]ourt of its control over those aspects of the case

                                  17   involved in the appeal.”9 Therefore, according to Mr. Lopez, he has a right to decline (or

                                  18   withdraw) consent to magistrate jurisdiction.

                                  19         Mr. Lopez’s argument does not demonstrate good cause or extraordinary circumstances

                                  20   warranting the withdrawal of his consent. Allowing withdrawal now would delay the proceedings

                                  21   and burden the parties by reassigning the case to a third judge. It would also interfere with the

                                  22   proceedings because this case is related to Mr. Lopez’s social-security appeal, over which the

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                                           Declination – ECF No. 100.
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                                           Administrative Motion in Opposition – ECF No. 101.
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                                           See ECF No. 107.
                                  27   8
                                           Id. at 4.
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                                  28       Id. (citing Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982)).

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                                   1   undersigned presides. And Mr. Lopez does not make any showing that his consent was

                                   2   involuntary or coerced. His appeal in the related case does not change the outcome.

                                   3      Mr. Lopez’s declination to magistrate-judge declination is therefore ineffective; he already

                                   4   consented and, absent good cause or extraordinary circumstances, must stick with that election.

                                   5      This disposes of ECF Nos. 100, 101, and 107.

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                                   7      IT IS SO ORDERED.

                                   8      Dated: March 9, 2017

                                   9                                                  ______________________________________
                                                                                      LAUREL BEELER
                                  10                                                  United States Magistrate Judge
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Northern District of California
 United States District Court




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                                       ORDER — No. 16-cv-07236-LB                      3
